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                           UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


ELAINE MALINOWSKI, individually, and                Case No. 1:23-cv-03411-LLS
on behalf of all others similarly situated,
                      Plaintiff,                    NOTICE OF VOLUNTARY DISMISSAL
v.
MONUMENT, INC.,
                      Defendant.




                          NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Federal Rules of Civil Procedure Rule 41(a)(1)(A)(i), Plaintiff Elaine
Malinowski hereby voluntarily dismisses this action without prejudice.


Dated: May 30, 2023

                                     By:      /s/ Joel H. Robinson
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                               CERTIFICATE OF SERVICE

       I hereby certify that, on May 30, 2023, a true and correct copy of the foregoing was
electronically filed with the Clerk of Court using CM/ECF. Copies of the foregoing document will
be served upon interested counsel via transmission of Notices of Electronic Filing generated by
CM/ECF.


                                                   /s/ Joel H. Robinson
                                                       Joel H. Robinson




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